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 2   DAVID M. PORTER, Bar #127024
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 5
     Attorney for Defendant
 6   LAMAR JUSTIN JACKSON
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. S 04-205 GEB
                                     )
12                  Plaintiff,       )      STIPULATED MOTION and [lodged]
                                     )      ORDER TO REDUCE SENTENCE PURSUANT
13        v.                         )      TO 18 U.S.C. § 3582(c)(2)
                                     )
14   LAMAR JUSTIN JACKSON,           )      RETROACTIVE CRACK COCAINE REDUCTION
                                     )      CASE
15                  Defendant.       )
                                     )
16   _______________________________ )      Judge: Hon. GARLAND E. BURRELL, Jr.
17        Defendant, LAMAR JUSTIN JACKSON, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   MARY L. GRAD, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Mr. Jackson was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 706 by two levels;
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 1        3.      Accordingly, Mr. Jackson’s adjusted offense level has been
 2   reduced from 29 to 27, and a sentence at the low end of the new
 3   guideline range with a departure comparable to the 15% reduction he
 4   received at the original sentencing would be 67 months;
 5        4.      Accordingly, the parties request the court enter the order
 6   lodged herewith reducing Mr. Jackson’s term of imprisonment to 67
 7   months.
 8   Dated:     July 16, 2008
 9   Respectfully submitted,
10   McGREGOR SCOTT                            DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
11
12
       /s/ Mary L. Grad                          /s/ David M. Porter
13   MARY L. GRAD                              DAVID M. PORTER
     Assistant U.S. Attorney                   Assistant Federal Defender
14
     Attorney for Plaintiff                    Attorney for Movant
15   UNITED STATES OF AMERICA                  LAMAR JUSTIN JACKSON
16                                           ORDER
17        This matter came before the Court on the stipulated motion of the
18   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19        On February 11, 2005, this Court sentenced Mr. Jackson to a term
20   of imprisonment of 84 months.         The parties agree, and the Court finds,
21   that Mr. Jackson is entitled to the benefit of the retroactive
22   amendment reducing crack cocaine penalties, which reduces the
23   applicable offense level from 29 to 27.
24        IT IS HEREBY ORDERED that the term of imprisonment originally
25   imposed is reduced to 67 months;
26        IT IS FURTHER ORDERED that all other terms and provisions of the
27   original judgment remain in effect.
28        Unless otherwise ordered, Mr. Jackson shall report to the United

     STIPULATION AND ORDER TO REDUCE SENTENCE
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 1   States Probation office closest to the release destination within
 2   seventy-two hours after his release.
 3   Dated:     July 21, 2008
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 5                                        GARLAND E. BURRELL, JR.
 6                                        United States District Judge

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     STIPULATION AND ORDER TO REDUCE SENTENCE
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